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                          UNITED STATES BANKRUPTCY COURT
                           SOUTHERN DISTRICT OF FLORIDA
                                    MIAMI DIVISION

In re:                                                      Case No. 18-22945-AJC
                                                            Chapter 7
          Pedro E Alvarez,

      Debtor,
_______________________________________/

                  TRUSTEE’S EXPEDITED MOTION TO:
            1) APPROVE SALE CONTRACT OF REAL PROPERTY;
   2) FOR ORDER APPROVING SALE OF RIGHT, TITLE AND INTEREST IN REAL
            PROPERTY FREE AND CLEAR OF LIENS, INTERESTS AND
        ENCUMBRANCES (OTHER THAN MORTGAGE(S) AND REAL ESTATE
               TAXES); 3) DIRECT DEBTOR TO COOPERATE; AND,
 4) AUTHORIZE TRUSTEE TO EXECUTE ALL NECESSARY AND REASONABLE
DOCUMENTS AND PAY STANDARD CLOSING COSTS ASSOCIATED THEREWITH

          Comes Now, DREW M. DILLWORTH as the Chapter 7 Trustee (“Trustee”) of the

bankruptcy estate of Pedro E. Alvarez (the “Debtor”), and pursuant to 11 U.S.C. §§ 105

and 363(f), Fed.R.Bankr.P. 2002, 6004, and 9019 and Local Rules 6004-1, 9019-1, and

9075-1, hereby files and serves this the Trustee’s Expedited Motion To: 1) Approve

Sale Contract Of Real Property; 2)         For Order Approving Sale Of Right, Title And

Interest In Real Property Free And Clear Of Liens, Interests And Encumbrances; 3)

Direct Debtor To Cooperate; And, 4) Authorize Trustee To Execute All Necessary And

Reasonable Documents And Pay Standard Closing Costs Associated Therewith, and

states the following in support thereof:

         1. The Court has jurisdiction over this matter pursuant to 28 U.S.C. §§ 157 and

1334 and the District Court’s, for the Southern District of Florida, Order of Reference

(the “Standing Order”).

         2. This is a core matter pursuant to U.S.C. § 157(b)(2)(A), and (N).

         3. Venue in this district is proper, pursuant to 28 U.S.C. §§ 1408 and 1409.
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     4. Debtor, Pedro E. Alvarez (“Debtor”), filed a voluntary petition (“Petition”) under
Chapter 7 of Title 11 of the United States Code on the 18th day of October, 2018
(“Petition Date”) under bankruptcy case number 18-11056-LMI (the “Current Bankruptcy
Case”).
     5. Drew M. Dillworth (“Trustee”) is the duly-appointed and permanent Chapter 7
Trustee in the Bankruptcy Case.
     6. Debtor identified his co-ownership interest in certain real estate located at 711
East 7th Avenue, Hialeah, FL 33010-4533 (“Subject Property”), and has not claimed
same as exempt.
     7. Said Subject Property is property of the Estate by virtue of Debtor’s pre-petition
co-ownership interest in said Subject property.
     8. Since the Petition date the Trustee has sought to sell the Debtor’s ½ interest in
the Subject Property.
     9. In the interim, the secured creditor, JP Morgan Chase Bank, National
Association (“Chase Bank”) filed a motion for stay relief [ECF No.39]; and, has received
en rem stay relief to exercise their rights viz-a-viz the Subject Property and foreclose on
same [see ECF No. 46] (the “Stay Relief Order”).
     10. The Stay Relief Order also provided the Trustee with the ability to seek to stay
the foreclosure process if he obtained “a contract for the sale of the property which
would pay off the lien interest of” Chase Bank [see ECF No. 46 at para. 5].
     11. During the time the Trustee sought to identify and locate a potential buyer for
the Trustee‘s/Debtor’s ½ interest, unbeknownst to the Trustee the Debtor and co-owner,
Reina Ramos, had negotiated a sale of the Subject Property to Isis Oliva and Yusmen
Lemes Gonzalez (“Buyers”). A true and correct copy of the proposed Sale Contract is
attached hereto as Exhibit “A”.
     12. The proposed sale set forth in the Sale Contract provides for a gross sale price
of $259,800.00 (“Sale Price”) with a financing contingency, and an additional credit form
the Sellers (Debtor and co-Owner) of up to $5,000.00 towards Buyers’ closing costs.
     13. The Closing Date was to be on or before June 18th, 2020; but, Buyers have
agreed to extend such closing date to obtain approval from the Bankruptcy Court of the
sale, subject to the Contract and further terms herein.



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     14. Chase Bank’s mortgage payoff was $138,242.17 as of June 27th, 2020 and
increases $16.17 per day, with a late fee to be incurred in the sun of $39.32 after July
15th, 2020.
     15. Therefore, substantial equity exists in the Subject Property for the benefit of the
Estate’s ½ interest therein.
     16. Furthermore, there exists purported judgment liens in favor of others which are
subject of bona fide dispute by the Trustee, all of which may assert attachment to the
Debtor’s 1/2 interests as set forth herein-below (and are also served with copies of this
Motion and attachments, as well as to be served with the Notice of Hearing on this
Motion):

  Creditor Name                          Amount          Date          Disputed?
                                         (Gross)
  Ford Motor Credit Co.                  $3,807.41    + 7/18/2011      Yes
  American Road Recovery                 6% interest per
  P.O. Box 6508                          annum
  Mesa, AZ 85216
                                         (Case    No.
                                         11606SP24))
  Midland Funding, LLC                   $1,449.99     + 6/19/2012     Yes
  8875 Aero Dr.                          Fla. Statutory
  Suite 200                              Interest    (per
  San Diego, CA 92123                    Fla. Stat. Sect.
                                         55.03)

                                         (Case No. 12-
                                         02270SP23/01)
  Asset Acceptance LLC                   $3,584.03   + 10/8/2008       Yes
  P.O. Box 2036 Warren, MI 48090         11% interest
                                         per annum

                                         (Case No. 08-
                                         10265-SP-25)
  Financial Independence Services, Co.   $5,200.25    + 6/24/2005      Yes
  575 NW 103 St.                         7% interest per
  Miami, FL 33150                        annum

                                         (Case No.05-
                                         005857 SP 05)
  F.A. Management Solutions, Inc.        $2,388.28    + 02/25/2004 Yes
  1 SE 4th Ave.                          7% interest per
  Suite 212                              annum

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  Delray Beach, FL 33483
                                         (Case No.04-
                                         397-SP-23-02)
  Asset Acceptance LLC                   $5,822.73    +                  Yes
  c/o Rodolfo J. Miro, Esq.              9% interest per
  P.O. Box 9065                          annum
  Brandon, FL 33509
                                         (Case No. 05-
                                         14335-SP-25)



     17. As many of the purported judgments set forth above are not valid perfected
liens against the Debtor’s/Trustee’s interest in the Subject Property, the Trustee, upon
approval of this Motion, will thereafter file a motion or adversary proceeding to challenge
the purported lien interests of these various above-described creditors in the proceeds
of the sale belonging to the Debtor/Trustee.
     18. The Trustee proposes and requests that the Court grant that:
            a.       The Trustee be substituted a party-in-interest on behalf of the
                     Debtor under the Sale Contract;
            b.       The payment at closing, after payment of standard closing costs
                     contemplated under the Sale Contract and satisfaction of the
                     Mortgage and any real estate taxes (prorated through the sale
                     closing date), that the Trustee then receive the ½ net proceeds with
                     any liens attaching to the proceeds of the Trustee arising out of the
                     claimed judgments set forth above and the Trustee then either
                     resolving by agreement such purported disputed judgment liens or
                     challenging same by motion practice and/or adversary proceeding
                     in the Bankruptcy Case;
            c.       Any commissions to be paid shall be paid from the co-owner’s
                     interest and shall not be a charge to the Estate/Trustee;
            d.       To insure this Court’s jurisdiction over the parties for dispute
                     resolution, modify paragraph 13, 15 and 16 to reflect that he
                     Bankruptcy Court will retain sole and exclusive jurisdiction over any
                     and all parties and disputes arising out of or relating to the Sale
                     Contract, the orders emanating from same and the closing on

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                     same, to the extent the Debtor’s and/or the Estate’s interests are
                     involved.
     19. The Sale Contract falls above the lowest point in the range of reasonableness
for approval of same.
     20. Based upon the proposed sale under the Sale Contract, the Trustee would also
request that, at a successful closing: payment be made of all standard closing costs as
anticipated under the Sale Contract and as otherwise paid at closing in Miami Dade
County; directing Debtor to cooperate and execute all documents requested by the
Trustee and/or the closing agent to successfully close the sale of the Subject Property
under the Sale Contract; to the extent Debtor does not cooperate, then direct and
authorize the Trustee to execute any and all documents/instruments in Debtor’s name
and place and bind Debtor to same; payoff the mortgage with Chase Bank; pay the
prorated real estate taxes at closing; pay the real estate sale commissions (totaling no
more than 6% jointly with the co-owner); remit the balance of ½ of the net sale proceeds
to the Trustee in exchange for the Trustee executing and delivering a Trustee Deed to
the Buyer on behalf of the Bankruptcy Estate and the Debtor; direct Debtor to execute a
Deed to the Buyer at closing; direct the balance of any further liens solely in the name of
the Debtor and asserted only against the Debtor (i.e. as set forth above regarding the
judgments) viz-a-viz the Subject Property not be satisfied of record, but rather the
purported liens against the Debtor’s ½ interest attach as they may to the sale proceeds
and the Subject Property shall be released of any such liens, with the Trustee retaining
the proceeds subject to the purported liens and then having the Trustee file a motion or
an adversary proceeding to determine right, title and interest in same, unless otherwise
resolved between the Trustee and the purported lien holder.
     21. Further, the Trustee requests that the Court approve the sale to the Buyers
free and clear of all liens, interests and encumbrances (as to the Debtor’s/Estate’s ½
interest), other than continuing Miami Dade County and local governmental agency
codes, real property taxing authorities, zoning restrictions and other limits by law or
ordinance, easements and licenses of record, with such other liens, interests and
encumbrances, other than Miami Dade County and local governmental agency codes
real property taxing authorities, zoning restrictions and other limits by law or ordinance,
easements and licenses of record, attaching to the sale proceeds and direct the closing

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agent to deposit the Debtor’s/Trustee’s interest in the sale proceeds into the Trustee’s
account at the closing.
     22. The Trustee believes in his sound business judgment that same (Contract and
sale) is well-within the parameters for approval purposes as it falls above the lowest
point for approval, and benefits the entire bankruptcy estate, will generate proceeds for
payment to the various creditors and avoid substantial further litigation with Sunstate
and IHR over a material piece of property which the Trustee has asserted to be an
owner of or entitled to recover by virtue of applicable law.
     23. Given the recognition of the property interest to be property of the Estate and
that the benefit to the Estate is substantial, the Subject Contract should be approved,
along with the sale of the Subject Property to the Buyers under the terms and conditions
of the Subject Contract and any order approving same; and, given the payoff of the
Chase Bank mortgage by the Subject Contract’s successful closing, cause exists to stay
the foreclosure proceeding and allow the Sale Contract to come to conclusion.
     24. The Trustee further requests that the Court authorize closing under the Subject
Contract (as modified herein) and determine the Buyers to be good faith purchasers for
value with all defenses, as well as waive the standard Rule 6004(h) fourteen (14) day
waiting period for the effectiveness of the order approving and granting this Motion as
time is of the essence in the Sale Contract, the current deadline to close has passed,
and the Buyers have agreed to a short extension of same, as they are obtaining VA
financing..
     WHEREFORE, the Trustee requests entry of an order granting this Motion, and for
such other and further relief this Court deems equitable and just.
     Dated: June 26th, 2020.
                                                  JAMES B. MILLER, PA
                                                  19 West Flagler Street, Suite 416
                                                  Miami, FL 33130
                                                  Tel. No. (305) 374-0200
                                                  Fax. No. (305) 374-0250
                                                  email: jbm@title11law.com
                                                  ___________/s/_______________
                                                  JAMES B. MILLER, ESQ.
                                                  Fla. Bar No. 0009164




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                                       CERTIFICATE OF SERVICE

        I HEREBY CERTIFY That a true and correct copy of this pleading was served June 26th, 2020:
via CM/ECF Service upon those listed below; via email, in pdf format, upon Adam Zipper, Esq. at
azipper@strocklaw.com; and, via U.S. mail upon those named on the attached U.S. Mailing list.


ECF Service List:
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        I HEREBY CERTIFY that I am admitted to the Bar for the District Court in and for the Southern
District of Florida and am in compliance with the additional qualifications to practice before this Court as
set forth in Local Rule 2090-1(A).


        Dated: June 26th, 2020.
                                                          JAMES B. MILLER, PA
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                                                          ___________/s/_______________
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